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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

DEEPAK JAIN, MEHUL DESAI, and
JAIN-DESAI, LLC,

Plaintiffs,
v. C.A. No.: 1:21-cv-00162-LPS
FINABLR VENTURES HOLDINGS, . JURY TRIAL DEMANDED
LTD. and UAE EXCHANGE :
INTERNATIONAL HOLDINGS, LTD.,
Defendants.
AFFIDAVIT OF SERVICE

Aaron M. Nelson, Esquire deposes and states:

1. I am a member in good standing of the Bar of the State of Delaware and a
partner in Heyman Enerio Gattuso & Hirzel LLP, attorneys for Plaintiffs Deepak Jain, Mehul
Desai, and Jain-Desai, LLC (“Plaintiffs”) in this action.

2. On February 8, 2021, Plaintiffs filed a Complaint against Defendants Finablr
Ventures Holdings, Ltd. and UAE Exchange International Holdings, Ltd. (collectively,
“Defendants”), arising out of and relating to inter alia a Stockholders Agreement (the
“Agreement”), dated November 7, 2018.

3. Under Section 7.12 of the Agreement, Defendants consented to personal
jurisdiction in Delaware, and agreed that the Complaint should be filed in the United States
District Court for the District of Delaware.

4, Defendants also agreed to service of process by mail, among other means,
pursuant to Sections 7.02 and 7.12 of the Agreement. Accordingly, on February 19, 2021, I

caused copies of the Complaint and the summonses issued in this action to be delivered to
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Defendants by Federal Express (return receipt requested) to their respective mailing addresses
as reflected in the books and records of Swych Inc.!

5. The Federal Express packages were addressed to Defendants at the following

addresses:

Finablr Ventures Holdings, Ltd.
5th Floor, Tamouh Tower (Building No. 12)
Marina Square, Al Reem Island,
P.O. Box 170, Abu Dhabi, UAE

UAE Exchange International Holdings, Ltd.
5th Floor, Tamouh Tower (Building No. 12)
Marina Square, Al Reem Island,
P.O. Box 170, Abu Dhabi, UAE

6. The tracking number for the Federal Express packages were 946765065824,

946765065835.

7. The Federal Express packages were delivered to Defendants on February 23,

2021, and signed for by B. Basheer. Copies of the Federal Express delivery receipts are

attached hereto as Exhibit A.

‘-—"~Aaron M. Nels ¢ & 5941) _
HEYMAN ENERIO

GATTUSO & HIRZEL LLP
300 Delaware Avenue, Suite 200
Wilmington, DE 19801

(302} 472-7300

Attorneys for Plaintiffs
SWORN TO AND SUBSCRIBED before

me this 24" day of February, ,

aRIS M. WARD
STINE Maite

State of Dela eres ON
Commission Exp

My September 06, 2024

 
 
     
   
     

  

 

| Plaintiffs’ counsel, Eric Pinker of Lynn Pinker Hurst & Schwegmann, LLP, also sent
copies of the summonses and Complaint to Defendants by email on February 19, 2021; that
email was directed to Michael Rosenthal, Esquire of Polsinelli, Defendants’ counsel
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Dated: February 24, 2021
